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Defendants.

I.

Opposition to Mot. Injunctive Relief

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

2:90-cv-00520 LKK JFM P

DEFENDANTS’ OPPOSITION TO
MOTION FOR INJUNCTIVE
RELIEF REQUIRING ACCESS TO
INPATIENT PSYCHIATRIC
HOSPITALIZATION

Hearing: July 25, 2008

Time: 8:30 a.m.

Courtroom: Four

Judge: The Honorable
Lawrence K. Karlton

INTRODUCTION
By this motion, Plaintiffs’ counsel puts before this Court a conflict within its own
representation of the Valdivia class: the parolee’s due process interest in a timely revocation
hearing versus the parolee’s liberty interest in being free from involuntary placement in a

Department of Mental Health (DMH) hospital pending his revocation hearings. Plaintiffs

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provide no proposal to resolve this Hobson’s choice, nor can they without compromising their
representation of at least part of the class.
Defendants submit their mental health care system, developed under the aegis of the
Coleman court, provides mental health screenings and outpatient services to all parolees, whether
revoked or not, and limits inpatient care to revoked parolees, in accord with state law
prohibitions against involuntary mental health treatment. To the extent Plaintiffs’ counsel cannot
agree to the revocation of mentally ill parolees at the earliest due process juncture, then this
Court is left to determine the propriety of waiving those parolees’ due process rights and civil
rights in favor of pre-hearing placement in a state mental health hospital for inpatient services.
Defendants respectfully request this Court rule that only revoked parolees may be placed into
state mental health facilities or, in the alternative, this Court waive the civil rights of those
parolees who, while awaiting their revocation hearings, are found to have serious mental
disorders requiring inpatient mental health per Coleman criteria in order to enable such care in
appropriate DMH-operated programs.
II.
PREFATORY STATEMENT OF CASE

A. Because a Parolees’ Inability to Participate in a Revocation Hearing Does Not Per Se

Indicate a Serious Mental Disorder, this Motion is Limited to Providing Valdivia

Parolees with the Same Inpatient Care Provided to Coleman Patients with Serious
Mental Disorders.

Plaintiffs’ motion uses the generic term "mentally ill" to describe those parolees in
need of inpatient mental health care. Under this rubric, Plaintiffs appear to seek both restorative
care for those parolees who are unable to meaningfully participate in a revocation hearing and
inpatient care for those parolees with Coleman-recognized serious mental disorders. The
Coleman-approved Revised Program Guide provides the diagnostic criteria for determining
whether an inmate has a serious mental disorder. (Dec. Chaiken, ] 4.) That criteria does not
include the inability to meaningfully participate in a revocation or other hearing. (/d.) Indeed,
Coleman clinicians are not required to make such evaluations nor provide such care. (Id. 95.)

Because the Coleman patients are not entitled to restorative care for participation in hearings,

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those Valdivia parolees awaiting revocation or undergoing revocation who are unable to
meaningfully participate in the revocation hearing are not entitled to restorative care for those
competency issues. This motion must therefore be limited to the provision of inpatient
intermediate and acute care to Valdivia parolees awaiting revocation hearing who have serious |
mental disorders meeting the Coleman Program Guide criteria for admission to inpatient care
programs.

B. The Coleman Revised Program Guide Policies, Combined with the Submitted Valdivia
Plan, Provides Timely Access to Mental Health Care.

Plaintiffs’ motion fails to acknowledge the Coleman-based mental health care services
accessed by parolees and inmates alike on a daily basis coincide with the timeframe for
revocation hearings. There is no dispute that parolees, like CDCR new commitments, undergo
mental health screenings upon their intake at reception centers. (Dec. Chaiken, 6.) On the
initial day, parolees receive a ‘bus screening’ for medical and mental health issues. (/d.) Within
seven calendar days of arrival at the reception center, all new commitments and parole violators
shall receive a screening for possible mental health needs. (/d.) They are individually
interviewed by a psychologist or Psychiatric Social Worker (PSW) using the standardized Mental
Health Screening questionnaire. (/d.) Those who refuse to participate in the mental health
screening interview shall be referred for a psychological evaluation to determine if they have a
mental disorder. (/d.) Individuals who are unable to participate in the screening interview due to
possible acute psychiatric distress are immediately referred for crisis care in a mental health crisis
bed, and referred for an emergency psychiatric evaluation. (/d.) In sum, a parole violator may
be found as early as his initial day and often no later than the seventh day at reception center to
meet the criteria for placement in the mental health services delivery system and be placed within
an appropriate level of care (Correctional Clinical Case Management Services, Enhanced
Outpatient Program Services, and Mental Health Crisis Bed). (Id. These timeframes
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1. Under the Coleman guidelines, a patient may remain in a mental health crisis bed for ten
days. (Dec. Chaiken, § 6.)

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have all been negotiated and approved within the bounds of the Coleman Revised Program
Guide. Ud.)

The Valdivia timelines dictate that a parole violator must be given a probable cause
hearing within 13 business days and a revocation hearing within 35 days following imposition of
the parole hold. Thus, a parole violator may, if qualified, be receiving Coleman-based care in the
days before the probable cause hearing. The parole violator can be revoked as early as the
probable cause hearing, and so available for referral and placement in a DMH inpatient program,
if necessary, within 13 business days of imposition of the hold. (See Ex. A, Def. Plan Provide
Due Process and Mental Health Care to Parolees, 6/6/08.) Because of the ongoing scarcity of
appropriate inpatient beds, it is doubtful that any earlier revocation of a parole violator would
actually result in his immediate placement in an inpatient DMH bed. (Dec. Radavsky, {{{ 10-11.)
Any expedited or prioritized treatment of parole violators before new commitments or other
CDCR inmates would not serve Defendants’ ethical and professional interest in providing care
on an acuity basis. (/d.) Plaintiffs’ request for expedited treatment of parole violators should be
denied as violative of the established timeframes of the Coleman Revised Program Guide and as
improper.

Il.
LEGAL ARGUMENT

A. Because Plaintiffs’ Request For Injunctive Relief Is Procedurally And Substantively
Improper, the Request Must Be Denied.

1. Plaintiffs Cannot Establish Standing to Seek this Relief.

The very distinctions in claims and classes that enabled the separate pursuit of these
two cases now serve to bar Plaintiffs’ claim for injunctive relief for Valdivia parolees awaiting
revocation hearings (“pend revs”). Simply put, the Plaintiffs cannot demonstrate these Valdivia
class members seeking relief from the Coleman court have the requisite standing.

The Coleman certified class consists of those “inmates with serious mental disorders
confined within the California Department of Corrections.” Coleman v. Wilson, 912 F.Supp.

1282, 1285 (E.D. Cal. 1995). Judgment was entered and injunctive relief awarded requiring

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Defendants’ development of a constitutionally adequate mental health care system to serve the
mental health care needs of the certified class.

In contrast, the Valdivia class consists of:

a. California parolees who are at large;

b. California parolees who are in custody as alleged parole violators and who are
awaiting revocation of their state parole;

c. California parolees who are in custody, having been found in violation of parole and °
sentenced to prison custody.
(Valdivia Stipulated Order for Injunctive Relief, 3/9/04, § 7.)

Plaintiffs mistakenly assume that a parolee stands in the same legal stead as an inmate.
The United State’s Court has ruled that a parolee has a liberty interest subject to due process
protection. Morrisey v. Brewer, 408 U.S. 481 (1972). The Valdivia injunction itself provides
only for a "hold" over the parolee for 35 days, not an indeterminate period of confinement.
(Valdivia Stipulated Order for Injunctive Relief, 3/9/04, {9 (e).) The only overlap between the
Coleman and Valdivia class definitions consists of those parolees falling within subpart (c) of the
Valdivia class definition: those parolees who have been found both (1) in violation of parole and
sentenced to prison custody and (2) to have a serious mental disorder qualifying them for
Coleman-based care under the Revised Program Guide. Only this subgroup, those parolees who
have been revoked and who have a serious mental disorder, are properly members of both the
Coleman and Valdivia classes and thus able to seek relief from both courts.” This motion
improperly seeks injunctive relief from the Coleman court for persons who are not Coleman class
members. Therefore, the motion must be denied for failing to meet the standing requirement.
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2. As more fully discussed below, Defendants provide mental health care services within
CDCR, ranging from Correetional Clinigal Management Services to Mental Health Crisis Beds, to

parolees upon their intake in the adult reception centers. (See also the attached Declaration of Shama
Chaiken 4] 6-8.)

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2. This Court Has Already Awarded Injunctive Relief Between These
Parties, Thus this Request is Barred by Res Judicata.

"Res judicata, or claim preclusion, bars claims that should have been raised and
resolved in earlier litigation between the same parties. Generally a claim is barred under this
doctrine if the earlier litigation: (1) concerned the same claim as the current action, (2) reached
final judgment on the merits, and (3) involved the same parties." Comm. Telesystems Int’l v. Cal.
Pub. Util. Com., 96 F.3d 1011, 1017 (9th Cir. 1999); see also San Remo Hotel, L.P. v. City &
County of San Francisco, 545 U.S. 323, 336 n.16 (2005).

The principle of res judicata applies to class actions. "There is no dispute that under
elementary principles of prior adjudication a judgment in a properly entertained class action is
binding on class members in any subsequent litigation." Cooper v. Fed. Reserve Bank, 467 U.S.
867, 874 (1984). Indeed, courts have barred claims on res judicata grounds in the context of
prisons and class actions. Tetzlaff'v. Swinney, 678 F.Supp. 812, 813-814 (D. Nev. 1987)
(inmate’s claims for declaratory and injunctive relief were barred by a prior class action consent
decree); Muhammad v. Warithu-Deen Umar, 98 F.Supp. 2d 337, 341-42 (W.D.N.Y. 2000)
(inmates’ claims of denial of free exercise of religious beliefs were barred under res judicata by
prior prison class action that resolved issues related to inmates’ ability to practice a religion);
Guilford v. City of Philadelphia, 1995 U.S. Dist. LEXIS 12895 (E.D. Pa. 1995) (staying
subsequent claims based on res judicata effect of prior class action).

Plaintiffs contend that this Court must enjoin DMH to retain CDCR patients requiring
mental health care within DMH inpatient facilities during their last 35 days of confinement. In
other words, Plaintiffs seek an injunction requiring DMH provide Coleman patients with pre-
release parole planning. Further, Plaintiffs portray all Valdivia parolees as subject to this 35-day
return policy. In actuality, only those Valdivia parolees who have been revoked and given a term
of confinement are placed in DMH and so subject to this return policy. (Dec. Radavsky, 15.)
Because the Coleman court has already awarded Plaintiffs an injunction requiring the provision

of constitutionally adequate mental health care by the Coleman Defendants, this request for a

3. A copy of this decision is attached as required by Local Rule 5-133(i).

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second injunction to require the provision of pre-release planning by DMH for Coleman class
members is inappropriate. A request for a second injunction between the same parties °
concerning essentially the same issue -- constitutionally adequate mental care services for a
CDCR inmate during a CDCR inmate’s confinement term -- is barred by the principle of res
judicata.

To the extent this Court is concerned about pre-release parole planning for Coleman
class members, Defendants respectfully submit that CDCR has taken responsibility for providing
such pre-release parole planning. (See Def. EOP in Reception Plan, filed 12/3/07.) Because
DMH does not have the ability to determine a patient’s date of discharge from CDCR custody,
DMH does not release CDCR patients upon the end of their term of confinement. (Dec.
Radavsky, § 15.) Rather, DMH returns CDCR patients back to CDCR within 35 days of their
final confinement day to enable their participation in the pre-release planning provided by CDCR
to prisoners. (/d.) DMH does not have any familiarity with the pre-release planning required for
state prisoners. (/d.) DMH understands that a return within 35 days of the end of the
confinement term is a sufficient time period for such pre-release planning to occur. (/d.)
Defendants respectfully request that CDCR be permitted to continue to provide Coleman class
members with pre-release planning and discharge from confinement.

3. The Motion for an Injunction Requiring DMH to Retain CDCR Inmates for

Prerelease Planning Overlooks the Special Masters’ Pending Work and
Should Be Dismissed as Premature.

In the alternative, this litigation is premature, sidestepping the ongoing work of the
Special Masters in both cases. Plaintiffs’ claim that both the Valdivia Defendants’ submitted
plan and the Coleman Revised Program Guide should require prerelease parole planning within
DMH inpatient mental health facilities should first be heard within the framework of pending
negotiations facilitated by both Special Masters. The Valdivia Special Master extended the
deadline for Defendants’ plan to provide due process and mental health care to August 15, 2008,
rendering this motion unripe even before it was filed. (Ex. B, SM Riveland letter, 5/28/08.) The

Coleman Special Master is facilitating negotiations of the 2008 update to the Revised Program

Guide. (Dec. Chaiken, 43.) Even though Plaintiffs have not asserted this issue in the course of

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the Program Guide negotiations, any concerns about the practice or policy to return CDCR
inmates receiving inpatient care to CDCR for prerelease parole planning should be discussed
within the Program Guide framework. Further, to the extent Special Master Lopes issues a report
on the Coleman Defendants’ plan to provide EOP care to class members in reception centers and
its provisions for prerelease parole planning, Plaintiffs’ claim is premature and should be
asserted, if at all, in response to the Special Master’s report. (Coleman Court Order, 10/3/07;
Def. Plan, 12/3/07.) Lastly, the memorandum of understanding containing the provision for
DMH inpatient care of CDCR patients is presently under review by Mr. Hagar in the Plata
matter. (Dec. Radavsky, 412.) In deference to the Special Masters’ separate and joint work to
address inpatient mental health care and prerelease parole planning, this motion should be
dismissed as premature.

4. Even If Injunctive Relief Were Procedurally Available, Plaintiffs Cannot

Establish the Prerequisites for that Relief.

Plaintiffs label this motion as seeking injunctive relief, but fail to identify the sought
relief as a temporary restraining order or as a preliminary injunction pending further briefing and
hearing concerning a permanent injunction. For purposes of this brief, Defendants will assume a
preliminary injunction is sought.

a. Plaintiffs’ Failure to Establish Subject Matter Jurisdiction Precludes this

Motion.

Plaintiffs cannot establish that the Valdivia Court or the Coleman Court has subject
matter jurisdiction over the issue of non-revoked parolees’ access to DMH inpatient mental heath
care. A preliminary injunction must be denied unless the plaintiff adequately establishes a
"reasonable probability of ultimate success upon the question of jurisdiction." Enterprise Int’l,
Ine. v. Corporacion Estatal Petrolera Ecuatoriana (5" Cir. 1985) 762 F2d 464, 471; Savoie v.
Merchants Bank (2"* Cir. 1996) 84 F2d 52, 57. A sought injunction may be denied if it involves
matters "wholly outside of the issues in the suit." Kaimowitz v. Orlando, Fla., 122 F.3d 41, 43
(11" Cir. 1997). The Valdivia court’s jurisdiction is limited by the four corners of the underlying

complaint and consent decree: Plaintiffs’ constitutional claim for timely and adequate parole

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revocation hearings under the Due Process clause. The Valdivia complaint and consent decree
did not present any issue of mental health care, but only of parole revocation hearings to
parolees. The Coleman complaint and judgment, by Plaintiffs’ own devising, covered mental
health care services for inmates, as is provided to revoked parolees and other persons sentenced
to a term of confinement within CDCR. Because neither the Valdivia nor the Coleman court
have subject matter jurisdiction over the issue of mental health care for non-revoked parolees,
this motion cannot proceed.

b. Plaintiffs’ Failure to Establish In Personam Jurisdiction Precludes this

Motion.

A court may not enjoin persons who have not been served or who have not been named
in the case. Zepeda v. United States I.N.S., 753 F.2d 719, 727 (9" Cir. 1983). Just as the
Valdivia complaint failed to assert a claim for inpatient mental health care services for non-
revoked parolees, so the Valdivia complaint also failed to name any person within DMH or any
other state agency as responsible for providing such services. While the Coleman court named
the Director of DMH as a party, that in personam jurisdiction over the Director in the Coleman
case cannot be stretched by Plaintiffs to address these new claims for inpatient mental health care
services to non-revoked parolees. Because neither the Valdivia nor the Coleman court have in .
personam jurisdiction over DMH for the purpose of providing inpatient mental health care to
non-revoked parolees, this motion cannot proceed.

c. Plaintiffs Cannot Obtain Mandatory Injunctive Relief in Violation of State

and Federal Law.

Plaintiffs’ requested relief, a court mandate requiring DMH to provide inpatient mental
health services to non-revoked parolees, is properly classified as a mandatory injunction. Such
relief is "subject to a heightened scrutiny and should not be issued unless the facts and law
clearly favor the moving party." Dahl v. HEM Pharmaceuticals Corp., 7 F.3d 1399, 1403 (9th
Cir. 1993). Moreover, a heightened standard of scrutiny applies to a motion to enjoin
governmental action taken in the public interest in accord with a statutory or regulatory scheme.

Under that heightened standard, the moving party must establish both irreparable injury and a

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probability of success of the merits. NAACP, Inc. v. Town of East Haven, 70 F.3d 219, 223 (2nd
Cir. 1995) (emph. added). Judicial restraint is particularly appropriate in responding to "the
complex and intractable problems of prison administration." Goff'v. Harper, 60 F.3d 518, 519
(8th Cir. 1995).

Although the motion may appear to enjoin a governmental agency, DMH, from failing
to properly care for parolees, that appearance is deceiving. DMH is properly serving the public
interest and the parolees’ liberty interest in accepting only those parolees for inpatient care who
have been revoked. The courts have long recognized that a parolee has a liberty interest, even
while on a parole hold. Morrisey v. Brewer, 408 U.S. 481 (1972). That liberty interest is
extinguished only by a timely and adequate revocation hearing. The "parole hold" provided by
the Valdivia injunction comports with this constitutional maxim by permitting the confinement
of a parolee for up to 35 days pending his revocation hearing. We anticipate Plaintiffs will assert
any hold beyond 35 days is arguably in violation of the injunction and the parolee’s liberty right.
Therefore, Defendants must question their ability to take a parolee on only a "parole hold" and
subject that parolee to the stigmatizing consequences of involuntary placement and treatment in a
state mental health hospital. Doe v. Gallinot, 657 F.2d 1017 (9th Cir. 1982).

Generally, CDCR inmates are transferred for inpatient care under the statutory
mechanism of California Penal Code section 2684. That code section expressly applies to
"inmates" who have a far more minimal liberty interest in release from state prison than a parolee
on a parole hold. Any lack of consent to this transfer to a state hospital is addressed by a pre-
transfer Vitek hearing. Vitek v. Jones, 445 U.S. 480 (1979). Absent the revocation of parole, the
State cannot use section 2684 nor the parole hold of the Valdivia injunction as the basis for
literally holding the parolee for mental health care within or beyond the 35 days permitted for the
revocation hearing. This extant liberty interest of the parolee awaiting revocation means that
state statutory prohibitions against involuntary placement in a state mental health hospital apply,
including the Lanterman-Petris-Short Act. Cal. Welf. & Inst. Code § 5000 et seq. DMH thus
serves the public and the parolee interest in the civil right against involuntary mental health

treatment by requiring the parolee’s revocation before inpatient placement.

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Because Plaintiffs’ sought injunction to mandate parolees’ placement in DMH
inpatient services would violate the Lanterman-Petris -Short Act, Plaintiffs cannot establish the
probability of success on the merits. "Absent a waiver by the state, a federal court has no power
to order a state officer exercising delegated authority to comply with duties imposed by state
law." Grand River Enterprises Six Nations, Ltd. v. Beebe, 467 F.3d 698, 701-702 (8th Cir.
2006). Plaintiffs’ motion must be denied to avoid an unenforceable result.

Further, to the extent Plaintiffs seek to enjoin DMH to provide inpatient services to
those parolees with less than 35-day terms of confinement, their request falls afoul of an
established consent decree. Defendants notified Plaintiffs over two years ago that DMH had
entered into a consent decree with the federal government to implement a recovery-based model
of care at its hospitals, in compliance with the Civil Rights of Institutionalized Persons Act
(CRIPA). (Def. Filed CRIPA Consent Decree, 5/9/06.) Those hospitals covered by the CRIPA
consent decree are, to date, Atascadero State Hospital, Metropolitan State Hospital, Napa State
Hospital, and Patton State Hospital. (Dec. Radavsky, 4 6. )

DMH is not able to provide mandated services to a patient with a confinement term of
less than 35 days at CRIPA-covered state mental health hospitals. (Dec. Radavsky, §8.) The
recovery-based model of care involves a 35-day diagnostic and evaluative period at the start of a
patient’s stay for intermediate (not acute) care. (/d. J 7.) A patient staying 35 days or less will
not receive the full benefits of DMH care nor will DMH fully comply with the mandates of the
CRIPA consent decree. (/d. 48.) In essence, Plaintiffs improperly stand as interlopers in the
CRIPA consent decree, seeking to enjoin the implementation of part of another federal court’s
order. Span-Eng Assocs. v.Weidner, 771 F.2d 464, 467 (10" Cir. 1985). Plaintiffs cannot show a
probability of success on the merits when the sought relief will intrude upon the interests of
federal comity. Therefore, Plaintiffs’ motion to enable parolees with less than 35 days of
confinement to access CRIPA-covered DMH hospital must be denied.

d. Plaintiffs Cannot Demonstrate the Balance of Hardships Warrants the

Sought Relief.

In determining Plaintiffs’ request, this Court must "balance the competing claims of

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injury and must consider the effect on each party of the granting or withholding of the requested
relief." Amoco Production Co. v. Village of Campbell Alaska, 480 U.S. 531, 542, 107 S.Ct.
1396, 1402 (1987) The Plaintiffs request access to inpatient mental health services for those
parolees who have yet to be revoked. Without the sought injunctive relief, those parolees
awaiting revocation hearings will continue to receive mental health care with CDCR and, once
revoked, will receive inpatient care within a DMH facility. The practical effect of providing the
sought injunctive relief however is not necessarily increased access to DMH care. The
timeframes for care and for revocation hearings sufficiently coincide such that parolees awaiting
revocation and who need DMH inpatient care will likely not benefit from this sought injunctive
relief, especially in light of the scarcity of inpatient beds. The legal effect of providing the
injunctive relief, while left unstated by Plaintiffs, is significant. The injunction can only occur
upon a waiver of Plaintiffs’ right to refuse mental health care under the Lanterman-Petris-Short
Act and, if the care is for an indeterminate period of time, possibly their right to a timely
revocation hearing. Defendants respectfully submit that the balance of these competing interests
compels a denial of Plaintiffs’ motion for injunctive relief.

B. In The Alternative, this Court Should Waive Plaintiffs’ Rights To Permit the
Placement Of ‘Pend Rev’ Parolees Into SVPP and VPP Inpatient Beds.

The resolution of Plaintiffs’ stated need for inpatient services for parolees awaiting
revocation involves a compromise. Plaintiffs’ entitlement to timely due process hearings and to
freedom from involuntary mental health treatment in a state mental health hospital is undisputed.
If Plaintiffs however desire placement in a state mental health hospital before any revocation
decision issues, then Plaintiffs must waive their right to a timely revocation hearing or their
rights under the Lanterman-Petris-Short Act. To the extent Plaintiffs’ counsel is not able to
provide such waivers, then this Court may do so. Once such waivers are made, then Defendants
will be able to place those parolees awaiting revocation hearings who need inpatient mental
health services into the two DMH facilities not subject to the CRIPA consent decree: Vacaville
Psychiatric Program (VPP) and Salinas Valley Psychiatric Program (SVPP).

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IV.
CONCLUSION

Defendants respectfully request Plaintiffs’ motion for injunctive relief to enable the
placement of those parolees awaiting revocation hearings into state mental health hospitals be
denied. The motion fails to establish the procedural and substantive prerequisites for relief.
Should Plaintiffs desire such placement, then Plaintiffs must waive or ask the Court to order
waiver of the Lanterman-Petris-Short Act prohibition against involuntary mental health treatment
in state mental health hospitals, as well as waiver of timely revocation hearings.

Dated: July 8, 2008

Respectfully submitted,

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